UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                                      6/22/2023
                                                                       :
BRYAN VELAZQUEZ,                                                       :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     22-cv-09244 (LJL)
                  -v-                                                  :
                                                                       :          ORDER
TENNESSEE VALLEY PECAN COMPANY, LLC,                                   :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        The Court has been informed that the parties have reached a settlement in principle in this

case. Accordingly, it is hereby ORDERED that this action is DISMISSED without costs and

without prejudice to restoring the action to the Court’s calendar, provided the application to

restore the action is made within sixty (60) days of this Order. Any application to reopen filed

after sixty (60) days from the date of this Order may be denied solely on that basis. Any pending

motions are DISMISSED as moot, and all conferences and deadlines are CANCELLED.



        SO ORDERED.

Dated: June 22, 2023                                       __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
